Case 2:11-cr-00070-RAJ Document 490 Filed 06/15/18 Page 1 of 6

AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case (NOTE? identify Changes with Asterisks (*))
Sheet 1 .

UNITED STATES DISTRICT COURT

Western District of Washington

 

UNITED STATES OF AMERICA ) AMENDED JUDGMENT IN A CRIMINAL CASE
v. )
ROMAN SELEZNEV ) Case Number: 2:14CROOO70RAJ-001
USM Number: 04385-093
Date of Original Judgment: 6/12/2018" ) Igor Litvak
(Or Date of Last Amended Judgment) ) Defendant’s Attorney
Reason for Amendment: )
(] Correction of Sentence on Remand (18 U.S.C. 3742¢)(1) and (2)} LO Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) oF 3583(e)}
(] Reduction of Sentence for Changed Circumstances (Fed. R. Crm. ) (J Modification of hnposed Term of Imprisonment for Extraordinary and
P, 35(b)) ) Compelling Reasons (18 U.S.C. § 3582(c)()}
((] Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 33{a)) 5 (] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s}
wf Correction of Sentence for Clerical Mistake (Fed. R. Crim, P. 36) ) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
) (3 Direct Motion to District Court Pursuant (] 28 U.S.C. § 2255 or
) [] 18US.C. § 33559(e 7}

(C1 Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
f] pleaded guilty to count(s)

(1 pleaded nolo contendere to count(s)
which was accepted by the court.

[A was found guilty on count(s) 1-10, 12-19, 21-29, 30-38, and 39-40
after a plea of not guilty.

 

 

The defendant is adjudicated guilty of these offenses:
Title & Secti L 7 7 Offense Ended Count

     
 
  

Be so SISEE

18 U.S.C. §1030(a)(5) Intentional Damage to a Computer TI5(2014 12-19

nae

 
   

The defendant is sentenced as provi ie in pages } 5 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

(Wf The defendant has been found not guilty on count(s) 1 and 20
1 Count(s) 1 is {Clare dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,

or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. [f ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

4pTRON 7) C\
ELT Ih

Signature of Judge ~
Honorable Richard A. Jones U.S. District Judge
Name and Title of Judge ~

Date

 

 

 

 
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AQ 245C (Rev. 11/16) Amended Judgment in a Criminal Case

Sheet LA (NOTE: Identify Changes with Asterisks (*))

Judgment— Page 2 oof _ oo

DEFENDANT: ROMAN SELEZNEV
‘CASE NUMBER: 2:11CROGO70RAJ-001

ADDITIONAL COUNTS OF CONVICTION

ature of Offense

   
  
 
 
 

Title & Section Offense Ended Count

   

7/5f2014 30-38 -

 
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AO 245C (Rev. 11/16} Amended Judgment ina Criminal Case
Sheet 2 — Imprisonment (NOTE: Identify Changes with Asterisks (*})
Tudgment—Page 3 of

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CRO00070RAJ-001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

As to each of Counts 1-10, the defendant shali be committed to the custody of the United States Bureau of Prisons for 4 term of 300 months (25 years) te be run concurrently with one another, and also concurrently with all
other counts, except for counts 39 and 4G, which must run consecutively. Ag to each of Counts 12-19 and 30-38, the defendant shall be committed to the custody of the United States Bureau of Prisons for a term of 120
months. The sentences on these counts shall run concurrently with one another, and algo concurrently with alt other counts, except for counts 39 and 40, which must run consecutively. As to each of Counts 21-29, the
defendant shall be committed to the custody of the United States Bureau of Prisons for a term of 60 months. These sentences shal mn coneurrently with one another and concurrently with alf other counts, except for counts 29
and 40, which must run consecutively. As to each of Counts 39 and 40, ihe defendant shail be committed te the custody of the United States Bureau of Prisons for a term of 24 months. These terms shall run concurrently with
ane another, but the 24-month sentence on Counts 39 and 40 win run consecutively, as required by statute, to the 400-month term of imprisonment on all other courts, The total term of imprisonment is 324 months (27 years).

CI The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

2 The defendant shall surrender to the United States Marshal for this district:
C1 at Ci am. Ol pm. on

 

 

[1 as notified by the United States Marshal.

CO ‘The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

CL sbefore 2 p.m. on

 

Cas notified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AQ 7245C (Rev. 11/16) Amended Judgment in a Criminal Case
Sheet 5-— Crimina! Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment — Page 4 of 5

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CROO070RAJ-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment JIVTA Assessment* Fine Restitution
TOTALS $ 3800.00 > 0.00 $ 9.00 $ 469,919,973.25*
f] The determination of restitution is deferred until _. An Amended Judgment in a Criminal Case (AO 245C} will be

entered after such determination.
[0 The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned ayment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U-S.C. § 3664()), all nonfederal victims must be paid
before the United States is paid.

   

     
  

  
   
  

Name of Payee Tota! Loss** Restitution Ordered Priority or Percentage

   
 
       

 
   

    

and payees listed o

n Dkt. 484 $169,418,843.54 843.54

   

 

TOTALS $ 169,919,973.25 $ 169,919,973.25

Restitution amount ordered pursuant to plea agreement 3

 

(] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

wi The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
1 the interest requirement is waived for [fine ¥ restitution.

[the interest requirement forthe [] fine C1 restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. ; ;
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
Sheet 6 — Schedule of Payments : (NOTE: Identify Changes with Asterisks (*)}

Judement — Page 5 oof 5

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CRO0070RAJ-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shail be due as follows:

a

(C1 _=sonot later than r
or iw F below; or

, 0
wi inaccordance wih 0 C, OF D. OF E,

[ Payment to begin immediately (may be combined with [7] C, O D,or £] F below); or

 

Cc 7 Paymentinequal (e.g., weekly, monthly, quarterly) installments of $ . over a period of
(e.g., months or years}, to commence _ (e.g., 30 or 60 days) after the date of this judgment; or
BP (C Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
/ ___ (¢.g., months or years), to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or
E [ Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (1 Special instructions regarding the payment of criminal monetary penalties:

During the period of imprisonment, no fess than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.
During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross
monthly household income, to commence 30 days after release from imprisonment.

Any unpaid amount shall be paid to Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

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Unless the court has expressly ordered otherwise, if this judgment imposes imprisoriment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
lomate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[3 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant munber), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

C1 The defendant shall pay the cost of prosecution.
1 The defendant shall pay the following court cost(s):

(1 The defendant shal! forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, () restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) IVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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United States v. Roman Seleznev
Victim Restitution Amounts
per Victim Financial Loss Restitution Statements

 

A B Cc D
Restitution

Impact | Restitution Amount
1 Victim Statement | Statement | Requested
City Newsstand
4018 N Cicero Ave
2 |Chicagoe, IL 60641 yes yes $20,991.25
CJ Saretto

5255 Reeder School Rd .
3 {Greenbrier TN 37073 yes yes $20,580.00
Double D Market & Catering
2595 County Road 516

4 {Old Bridge, NIJ 08857 no yes $12,128.11
Fighting Burrito
PO Box 1336

5 jAmes, IA 50014 no yes $5,995.00
Foley Fuel &
Lumber Company
240 Main Street
Box 157

6 |Foley, MN56329 yes yes $10,399.88
G's Pizza ,

200 West Houghton Avenue
7 |West Branch, MI 48661 no yes $6,000.00
Grand Central Baking
2249 NW York Street
g |Portland, OR 97210 no yes $6,575.00
(Huston Zoo
1513 Cambridge
9 (Houston, TX 77030 yes yes $266,163.00
Mountain Mike's Pizza :
11974 Highway 88,
Suite 2082

10 Jackson, CA 95642 yes yes $7,000.00
Pasta Factory

2 West Street St George Blvd.
#8

St. George, UT 84770 yes yes $14,806,76
Shaka Sandwich & Pizza Inc.
1770 S. Kihei Road

Kihei, HI 96753 yes yes $23,006.34
Tiffany's Pizza
PO Box 24

13 |Carleton, MI 48117 no yes $13,500.00
University Book Exchange, Inc
516 S Cotanche Stree

14 |Greenville, NC 27858 yes yes $43,214.37
Village Idiot Pizza
2009 Devine Street
15 |Columbia, SC 29205 yes yes $18,800.00
Zpizza Corp.

909 Canyon View Drive
16 |Laguna Beach, CA 92651 yes yes $31,970.00
7 TOTAL $501,129.71

 

 

 

 

 

 

 

 

 

 

 

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CR 11-00070-RAJ
